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                   EXHIBIT A
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                                                              the Trustee

  EX-99.4 4 dex994.htm BY-LAWS OF THE TRUSTEE
                                                                                                                   Exhibit 4 to Form T-1
                                                                                                                   By-Laws




  JPMorgan Chase Bank
  Office of the Secretary
  270 Park Avenue, 35th floor
  New York, NY 10017-2070

                                                               CERTIFICATE

       I, Anthony J. Horan, Corporate Secretary of JPMorgan Chase Bank, National Association do hereby certify that attached is a true and
  correct copy of the By-laws of JPMorgan Chase Bank, National Association, a banking organization organized under the laws of the State
  of New York, and that said By-laws, as approved by the Board of Directors to be effective upon conversion of the Bank to a National
  Association, will be in full force and effect on the date of conversion.

       IN WITNESS WHEREOF I have hereunto set my hand and affixed the seal of JPMorgan Chase Bank as of this 16th day of
  September 2004.




                                                                                                      Anthony J. Horan




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  JULY 12, 2004                                                                              Exhibit D

                                                                 BY-LAWS

                                               JPMorgan Chase Bank, National Association

                                                             November     , 2004




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                                                                  BY-LAWS

                                                                      OF

                                        JPMORGAN CHASE BANK, NATIONAL ASSOCIATION

                                                                 ARTICLE I

                                                          Meetings of Shareholders

        Section 1.01. Shareholders’ Meetings. The regular annual meeting of the shareholders of JPMorgan Chase Bank, National
  Association (the “Bank”) for the election of directors and the transaction of whatever other business may properly come before the
  meeting shall be held at the main banking office of the Bank or any other convenient place the Board of Directors may designate, on such
  date as may be designated by the Board of Directors. Special meetings of the shareholders may be called by the Chairman of the Board,
  the Chief Executive Officer, the President, or the Secretary. The time and place of each special meeting shall be designated by the Board
  and shall be included in a notice of meeting.

        Section 1.02. Consent in Lieu of Meeting of Shareholders. Except as otherwise required by applicable laws and regulations, any
  action that may be taken at the annual meeting or any special meeting of the shareholders may also be taken without a meeting if a written
  consent to the action is signed by all of the persons who would be entitled to vote thereon and is filed with the Secretary of the Bank as
  part of the corporate records.

                                                                 ARTICLE II

                                                              Board of Directors

        Section 2.01. Number. The business and affairs of the Bank shall be managed by or under the direction of a Board of Directors, of
  such number as may be fixed from time to time by resolution adopted by the Board, but in no event less than 5 or more than 25. Each
  director hereafter elected shall hold office until the next annual meeting of the shareholders and until his successor is elected and has
  qualified, or until his death or until he shall resign or shall have been removed.

        Section 2.02. Qualifications. During his entire term of service, each director of the Bank, unless otherwise permitted under the laws
  of the United States, must be a citizen of the United States and must own, in his own right, capital stock in the Bank or in a company that
  controls the Bank, in such amounts as required by applicable statute or regulation.

        Section 2.03. Oath. Each person appointed or elected a director of the Bank must, prior to exercising the functions of such office,
  take the oath of such office in the form prescribed by the Comptroller of the Currency.

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        Section 2.04. Vacancies. In case of any increase in the number of directors, the additional director or directors, and in case of any
  vacancy in the board due to death, resignation, removal, disqualification or any other cause, the successors to fill the vacancies shall be
  elected by action of the shareholders or, subject to the limits specified in 12 CFR Part 7, a majority of the directors then in office.

       Section 2.05. Annual Meeting. An annual meeting of the directors shall be held each year at such time and place as shall be
  designated by the Board. At such meeting, the directors may elect from their own number a Chairman of the Board, a Chief Executive
  Officer, and a President, and shall elect or appoint such other officers authorized by these By-laws, and appoint such Committees
  consistent with Article III hereof, as they may deem desirable.

       Section 2.06. Regular Meetings. The Board may hold regular meetings, without notice, at such times and places as the Board may
  from time to time determine.

        Section 2.07. Special Meetings. Special meetings of the Board of Directors may be called by the Chairman of the Board, the Chief
  Executive Officer, the President, or a majority of the directors then in office. Unless waived, each member of the Board of Directors shall
  be given notice by telephone, in person, or in writing by facsimile transmission, hand delivery, courier service, first-class mail, certified
  mail, express mail, email or other electronic means, stating the time and place of each special meeting.

       Section 2.08. Quorum; Majority Vote. Except as otherwise provided herein or as required by applicable law, a majority of the
  members of the entire Board (or the next highest integer in the event of a fraction) shall constitute a quorum, and a majority of those
  present and voting at any meeting of the Board of Directors shall decide each matter considered. If less than a quorum be present, a
  majority of those present may adjourn any meeting from time to time and the meeting may be held as adjourned without further notice.

                                                                 ARTICLE III

                                                           Committees of the Board

        Section 3.01. Committees. Except for those duties that by law or regulation must be performed by at least a majority of the full
  Board of Directors, the performance of such duties as the Board deems appropriate may be assigned to one or more committees of one or
  more persons. Membership in each such committee shall be as established from time to time by the Board. All acts done and powers
  conferred by any Committee from time to time shall be deemed to be, and may be certified as being done or conferred under authority of
  the Board. A Committee may delegate its duties to one or more subcommittees composed of one or more members of the Committee. Each
  Committee may fix its own rules and procedures, in the absence of which the provisions of the Articles of Association and these By-laws
  with respect to meetings of the Board shall apply to Committees and their members. The minutes of the meetings of each Committee shall
  be submitted at the next regular meeting of the Board at which a quorum is present, or, if impracticable, at the next such subsequent
  meeting.

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       Section 3.02. Examining Committee. The Audit Committee of J.P. Morgan Chase & Co. shall be the Examining Committee of the
  Bank and shall have full and complete authority to act for and on behalf of this Bank in the exercise of the authority granted to it by the
  By-laws and the Board of Directors of J.P. Morgan Chase & Co.

                                                                  ARTICLE IV

                                                              Officers and Agents

       Section 4.01. Officers. The officers of the Bank may include a Chairman of the Board, a Chief Executive Officer, and a President,
  each of whom must be a director and shall be elected by the Board; and such other officers as may from time to time be elected by the
  Board or under its authority, or appointed by or under the authority of the Chairman, the Chief Executive Officer, or the President.

        Section 4.02. Other Employees. The Board of Directors may delegate others to appoint agents and employees, define their duties,
  fix their compensation and dismiss them.

       Section 4.03. Term of Office. All officers, agents, and employees appointed by the Board of Directors, or under its authority, shall
  hold office at the pleasure of the Board.

       Section 4.04. Chairman of the Board. The Chairman shall preside at all meetings of the shareholders and at all meetings of the
  Board. The Chairman of the Board shall have the same power to perform any act on behalf of the Bank and to sign for the Bank as is
  prescribed in these Bylaws for the Chief Executive Officer. He shall perform such other duties as from time to time may be prescribed by
  the Board.

        Section 4.05. Chief Executive Officer. The Chief Executive Officer shall be the chief executive officer of the Bank and shall have,
  subject to the control of the Board and the Chairman, general supervision and direction of the policies and operations of the Bank and of
  its several officers other than the Chairman. In the absence of the Chairman, he shall preside at all meetings of the shareholders and at all
  meetings of the Board. He shall have the power to execute any document or perform any act on behalf of the Bank, including without
  limitation the power to sign checks, orders, contracts, leases, notes, drafts and other documents and instruments in connection with the
  business of the Bank, and together with the Secretary or an Assistant Corporate Secretary execute conveyances of real estate and other
  documents and instruments to which the seal of the Bank may be affixed. He shall perform such other duties as from time to time may be
  prescribed by the Board.

        Section 4.06. President. The President shall, subject to the direction and control of the Board, the Chairman and the Chief Executive
  Officer, participate in the supervision of the policies and operations of the Bank. In general, the President shall perform all duties incident
  to the office of President, and such other duties as from time to time may be prescribed by the Board, the Chairman, or the Chief Executive
  Officer. In the absence of the Chairman or the Chief Executive Officer, the President shall preside at meetings of shareholders and of the
  Board. The President shall have the same power to sign for the Bank as is prescribed in these By-laws for the Chief Executive Officer.

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        Section 4.07. Powers and Duties of Other Officers. The powers and duties of all other officers of the Bank shall be those usually
  pertaining to their respective offices, subject to the direction and control of the Board and as otherwise provided in these By-laws.

       Section 4.08. Fidelity Bonds. The Board, in its discretion, may require any or all officers, agents, and employees of the Bank to give
  bonds covering the faithful performance of their duties or may obtain insurance covering the same, in either case in form and amount
  approved by the Board, the premiums thereon to be paid by the Bank.

                                                                  ARTICLE V

                                                                Indemnification

        Section 5.01. Right to Indemnification. The Bank shall to the fullest extent permitted by applicable law as then in effect indemnify
  any person (the “Indemnitee”) who was or is involved in any manner (including, without limitation, as a party or a witness), or is
  threatened to be made so involved, in any threatened, pending or completed investigation, claim, action, suit or proceeding, whether civil,
  administrative or investigative (including, without limitation, any action, suit or proceeding by or in the right of the Bank to procure a
  judgment in its favor, but excluding any action, suit, or proceeding brought by such person against the Bank or any affiliate of the Bank (a
  “Proceeding”) by reason of the fact that he is or was a director, officer, or employee of the Bank, or is or was serving at the request of the
  Bank as a director, officer or employee or agent of another corporation, partnership, joint venture, trust or other enterprise against all
  expenses (including attorney’s fees), judgments, fines and amounts paid in settlement actually and reasonably incurred by him in
  connection with such Proceeding. Such indemnification shall be a contract right and shall include the right to receive payment in advance
  of any expenses incurred by the Indemnitee in connection with such Proceeding, consistent with the provisions of applicable law as then in
  effect.

        Section 5.02. Contracts and Funding. The Bank may enter into contracts with any director, officer, or employee of the Bank in
  furtherance of the provisions of this Article V and may create a trust fund, grant a security interest or use other means (including, without
  limitation, a letter of credit) to ensure the payment of such amounts as may be necessary to effect indemnification as provided in this
  Article V.

        Section 5.03. Employee Benefit Plans. For purposes of this Article V, references to “other enterprises” shall include employee
  benefit plans; references to “fines” shall include any excise taxes assessed on a person with respect to any employee benefit plan; and
  references to “serving at the request of the Bank” shall include any service as a director, officer, employee, or agent of the Bank which
  imposes duties on, or involves services by, such director, officer, employee, or agent with respect to an employee benefit plan, its
  participants, or beneficiaries; and a person who acted in good faith and in a manner he reasonably believed to be in the interest of the
  participants and beneficiaries of an employee benefit plan shall be deemed to have acted in a manner not opposed to the best interests of
  the corporation.

        Section 5.04. Indemnification Not Exclusive Right. The right of indemnification and advancement of expenses provided in this
  Article V shall not be exclusive of any other rights to which a person seeking indemnification may otherwise be entitled, under any statute,
  by-law, agreement, vote of shareholders or disinterested directors or otherwise, both as to action in his

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  official capacity and as to action in another capacity while holding such office. The provisions of this Article V shall inure to the benefit of
  the heirs and legal representatives of any person entitled to indemnity under this Article V and shall be applicable to Proceedings
  commenced or continuing after the adoption of this Article V whether arising from acts or omissions occurring before or after such
  adoption.

       Section 5.05. Advancement of Expenses; Procedures. In furtherance, but not in limitation, of the foregoing provisions, the
  following procedures and remedies shall apply with respect to advancement of expenses and the right to indemnification under this Article
  V:
            (a) Advancement of Expenses. All reasonable expenses incurred by or on behalf of the Indemnitee in connection with any
       Proceeding shall be advanced to the Indemnitee by the Bank within twenty (20) days after the receipt by the Bank of a statement or
       statements from the Indemnitee requesting such advance or advances from time to time, whether prior to or after final disposition of
       such Proceeding. Such statement or statements shall reasonably evidence the expenses incurred by the Indemnitee and, if required by
       law at the time of such advance, shall include or be accompanied by an undertaking by or on behalf of the Indemnitee to repay the
       amounts advanced if, and to the extent, it should ultimately be determined that the Indemnitee is not entitled to be indemnified
       against such expenses.
            (b) Written Request for Indemnification. To obtain indemnification under this Article VII, an Indemnitee shall submit to the
       Secretary of the Bank a written request, including such documentation and information as is reasonably available to the Indemnitee
       and reasonably necessary to determine whether and to what extent the Indemnitee is entitled to indemnification (the “Supporting
       Documentation”). The determination of the Indemnitee’s entitlement to indemnification shall be made within a reasonable time after
       receipt by the Bank of the written request for indemnification together with the Supporting Documentation. The Secretary of the
       Bank shall, promptly upon receipt of such a request for indemnification, advise the Board in writing that the Indemnitee has
       requested indemnification.
             (c) Procedure for Determination. The Indemnitee’s entitlement to indemnification under this Article V shall be determined (i) by
       the Board by a majority vote of a quorum (as defined in Article II of these By-laws) consisting of directors who were not parties to
       such action, suit or proceeding, or (ii) if such quorum is not obtainable, or, even if obtainable, a quorum of disinterested directors so
       directs, by independent legal counsel in a written opinion, or (iii) by the shareholders, but only if a majority of the disinterested
       directors, if they constitute a quorum of the Board, presents the issue of entitlement to indemnification to the shareholders for their
       determination.

                                                                  ARTICLE VI

                                                                     By-laws

       Section 6.01. Inspection. A copy of the By-laws shall at all times be kept in a convenient place at the principal office of the Bank,
  and shall be open for inspection by shareholders during banking hours.

        Section 6.02. Amendments. These By-laws may be added to, amended, altered or repealed by action of the shareholders, or by vote
  of a majority of the entire Board at any meeting of

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  the Board. No amendment may be made unless the By-laws, as amended, are consistent with the requirements of the laws of the United
  States and of the Articles of Association of the Bank.

       Section 6.03. Construction. The masculine gender, where appearing in these Bylaws, shall be deemed to include the feminine
  gender.

                                                                 ARTICLE VII

                                                                 Miscellaneous

      Section 7.01. Seal. The corporate seal of the Bank shall be in the form of a circle and shall bear the full name of the Bank and the
  words “Corporate Seal” together with the logo of J.P. Morgan Chase & Co.

       Section 7.02. Fiscal Year. The fiscal year of the Bank shall be the calendar year.

        Section 7.03. Waiver of Notice. Unless otherwise provided by the laws of the United States, notice of any Board or Board
  committee meeting, need not be given to any person who (a) submits a signed waiver of notice, whether before or after the meeting, or (b)
  is present at such meeting; and any meeting shall be a legal meeting without any notice thereof having been given, if all the members are
  present.

        Section 7.04. Electronic Meetings. Subject to the provisions required or permitted by these or the Articles of Association of the
  Bank for notice of meetings, members of the Board of Directors, or members of any committee of the Board, may participate in and hold a
  meeting of the Board of Directors or such committee by means of conference telephone or other communications equipment by means of
  which all persons participating in the meeting can hear each other. Participation in such a meeting shall constitute presence in person at
  such meeting, except where a person participates in the meeting for the express purpose of objecting to the transaction of any business on
  the ground that the meeting is not lawfully called or convened.

        Section 7.05. Consent in Lieu of Meeting of Directors. Except as otherwise required by applicable laws and regulations, any action
  that may be taken at a meeting of the Board of Directors or any committee of the Board may also be taken without a meeting if a written
  consent to the action is signed by all the directors, or by all members of such committee, and is filed with the Secretary of the Bank as part
  of the corporate records.

       Section 7.06. Governing Law. To the extent not inconsistent with applicable Federal banking statutes and regulations, or safety and
  sound banking practice, the Bank shall follow the corporate governance procedures, including indemnification standards, of the Delaware
  General Corporation Law, as amended.

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